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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

W
ANDRE LEWIS, Civil Action No.: 07-1592 (PGS)

Plaintiff,

VERDICT SHEET

VS. GUISEPPE MANDARA

PAUL WILLIAMS, et als.

Defendant.

INSTRUCTION

Presented on the next pages are Verdict Sheets for Defendant, Guiseppe Mandara.
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We, the jury, unanimously find the following by a preponderance of the evidence:

SECTION 1983 EXCESSIVE FORCE

l. Did Guiseppe Mandara, on August 7, 2005, intentionally commit an act that
violated Andre Lewis's Eighth Amendment right not to be subjected to excessive force? (see p.15

of instructions).
Answer: Yes No x

(If your answer to question | is “No,” proceed to Assault and Battery. If your answer to
question | is “Yes,” proceed to question 2.)

2 If you find “yes” to question 1, is Guiseppe Mandara immune from liability due to
the defense of qualified immunity? (see p. 32 of instructions).

Answer: Yes No

(If your answer to question 2 is “no,” proceed to question 3. If “yes,” proceed to
Assault and Battery section.)

3. Do you award compensatory damages to Andre Lewis for any injury he actually
suffered as a result of Giuseppe Mandara's conduct due to the use of excessive force?

Answer: Yes No

4. Do you award punitive damages to Andre Lewis due to the conduct of Guiseppe
Mandara?
Answer: Yes No

DEFENDANT GUISEPPE MANDARA: ASSAULT AND BATTERY

5. Did Guiseppe Mandara commit an assault and battery by striking Andre Lewis
with unlawful force on August 7, 2005?
Answer: Yes No_X

6. If “yes” to question 5, did Guiseppe Mandara possess a good faith belief that he

was within the bounds of his authority when he used such force and/or acted objectively
reasonable?

Answer: Yes No

(If your answer to question 6 is “no,” proceed to question 7. If “yes,”, proceed to
Damages.
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a Do you award punitive damages to Andre Lewis due to the conduct of Guiseppe
Mandara?
Answer: Yes No
DAMAGES

8. If you answered question 3 and/or 6 “yes,” please enter the amount of

compensatory damages awarded.

Answer: $
(fill in dollar figure)

9. If you answered questions 4 and/or 7 “yes,” please enter the amount of punitive
damages awarded.

Answer: $
(fill in dollar figure)

. For€person

Date: Jo --Des |
